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-IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN ss’

 

 

PAUL ALLEN ADAMS, é
Petitioner, \ f
\ Case No, 18-cv-982-jdp
v. ‘ i
LIZI TEGELS, \ /
Respondent. *
JUDGMENT IN A CIVIL CASE

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IT IS ORDERED AND apjungeb that judgment is entered denying
petitioner Paul Adams's petition for’ a writ of habeas corpus under 28 U.S.C. § 2254

and dismissing this case.

/s/ “ “s_/22/2019

 

 

Peter Oppeneer, Clerk of Court “Date
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